Case 2:97-cr-20120-.]PI\/| Document 33 Filed 04/25/05 Page 1 of 2 Page|D 40

IN ’I`HE UNITED STATES DISTRIC'I` COURT `_"'»::'.; ix

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FOR THE wESTERN DISTRICT oF TENNESSEE d*" "-<\1 :'¢',. § ,¢.
WESTERN DIVISION PJ
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fv,{_). €"jy~ f;\j, M“é_ P}.al?:_;
UNITED STATES OF AMERICA ""' 540

Plaintiff,

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fm 129 rio /\/ FEO$ “/"'

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Criminal Noq g -/Z /)_ Ml

(60-Day Continuance)

 

 

 

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Defendant(s).

 

REPORT ON FUGITIVE STATUS AN'D RESETTING

 

As indicated by the signature of counsel for the United
States, through its Assistant United States Attorney, this case
remains an active case and there are continuing efforts to locate
the above-referenced fugitive defendant(s}. A follow~up report
on efforts to bring the above-referenced fugitive defendant(s)
before the Court Will be made on Fridav, June 24, 2005, at 10:30

B..m.

 

so ORDERED this 22nd day of April, 2005.

;i,@ mw

JON PHIPPS MCCALLA
UN 'I`ED STATES DISTRICT JUDGE

 

 

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with Flu|e 55 and/or 32(b) FHCrP on

  
 

   

UNITED sTATE DRISTIC COURT - WETERN D's'TRCT oFTENNESSEE

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This notice confirms a copy of the document docketed as number 33 in
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Tony R. Arvin

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable J on McCalla
US DISTRICT COURT

